         Case: 3:21-cv-00381-jdp Document #: 5 Filed: 06/08/21 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

 DAVID ANTHONY PEARSON JR AND
 RORY DEER,
                                                                           ORDER
         Plaintiffs,
 v.                                                                Case No. 21-cv-381-jdp

 LA CROSSE COUNTY POLICE
 DEPARTMENT, et al

         Defendants.


       Plaintiff David Anthony Pearson Jr has filed a proposed civil complaint and requested

leave to proceed without prepaying the filing fee. To evaluate plaintiff’s request to proceed

without prepayment of the filing fee, I must review a certified copy of plaintiff’s inmate trust

fund account statement (or institutional equivalent) for the six-month period immediately

preceding the filing of the complaint. 28 U.S.C. § 1915(a)(2).

       For this case to proceed, plaintiff must submit the certified trust fund account statement

no later than June 29, 2021. If I find that plaintiff is indigent, I will calculate an initial partial

payment amount that must be paid before the court can screen the merits of the complaint

under 28 U.S.C. § 1915(e)(2). Thereafter, plaintiff will be required to pay the balance of the

filing fee in installments.




                                              ORDER

       IT IS ORDERED that plaintiff David Anthony Pearson Jr may have until June 29, 2021

to submit a trust fund account statement for the period beginning approximately December 7,

2020 and ending approximately June 7, 2021. If, by June 29, 2021, plaintiff fails to respond
         Case: 3:21-cv-00381-jdp Document #: 5 Filed: 06/08/21 Page 2 of 2




to this order, I will assume that plaintiff wishes to withdraw this action voluntarily. In that

event, the case will be closed without prejudice to plaintiff filing the case at a later date.




               Entered this 8th day of June, 2021.

                                      BY THE COURT:


                                      /s/
                                      PETER OPPENEER
                                      Magistrate Judge
